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                              UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF VERMONT


______________________
In re:
               Nhan Le                                                        Case # is 2:21-mc-173
______________________

                                                 ORDER
            GRANTING APPLICATION FOR EXEMPTION FROM THE ELECTRONIC PUBLIC ACCESS FEES
       This matter is before the Court on the application and request by Nhan Le for exemption from
the fees imposed by the Electronic Public Access fee schedule adopted by the Judicial Conference of
the United States Courts.
       Based on the application before it, THE COURT FINDS that Nhan Le as a researcher at
Australian National University, falls within the class of users listed in the fee schedule as being eligible
for a fee exemption, and THE COURT FURTHER FINDS that Nhan Le has demonstrated he needs an
exemption to avoid unreasonable burdens and to promote public access to information.
       Accordingly, THE COURT ORDERS that Nhan Le shall be exempt from the payment of fees
for access via PACER to the electronic case files maintained in this court, to the extent such use is
incurred in the course of his Economics graduate course. This Order does not exempt Nhan Le from the
payment of fees incurred in connection with other uses of the PACER system in this court.


       THE COURT FURTHER ORDERS that the following limitations apply:
1.   This fee exemption applies only to Nhan Le and is valid only for the purposes stated above.
2.   This fee exemption applies only to the electronic case files of this court that are available through
     the PACER system.
3.   By accepting this exemption, Nhan Le agrees not to sell for profit any data obtained as a result of
     receiving this exemption.
4.   Nhan Le is prohibited from transferring any data obtained as a result of receiving this exemption,
     including redistribution via internet-based databases.
5.   This exemption is valid until ___________2022.
                                   December 1, 2022.

       THE COURT FURTHER ORDERS that this exemption may be revoked at the discretion of
the Court at any time.
       The Clerk is directed to send a copy of this Order to the PACER Service Center.
       SO ORDERED.
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December 1, 2021                                                      Colleen A. Brown
Burlington, Vermont                                                   United States Bankruptcy Judge
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